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          EXHIBIT 12
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3.4.22 (3) All documents, including communications, relating to requested, alleged or actual
imaging or copying of electronic files of Dominion Voting System equipment conducted by
individuals who are not authorized Coffee County officials. (Records to include those created
beginning November 1, 2020 through the date of response to this request.)
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Jennifer Dorminey Herzog

From:                                  Jennifer Dorminey Herzog
Sent:                                  Tuesday, April 12, 2022 3:50 PM
To:                                    rgermany@sos.ga.gov
Cc:                                    Anthony A. Rowell
Subject:                               FW: Response to 4/12/22 Emma Brown Washington Post inquiry



FYI


From: Jennifer Dorminey Herzog
Sent: Tuesday, April 12, 2022 3:43 PM
To: Emma.Brown@washpost.com
Cc:Vickers, Wesley <Wesley.Vickers@coffeecounty-ga.gov>; Anthony A. Rowell <ARowell@hallboothsmith.com>
Subject:Response to 4/12/22 Emma Brown Washington Post inquiry


 Dear Ms. Brown,

 We are in receipt of your correspondence this morning at 5:05 a.m. which is below. The specific details set forth
 therein were unknown to the Coffee County Board of Commissioners until receipt of your email. Accordingly, we
 forwarded your communication to Mr. Chaney. I have provided below Mr. Chaney's response to Ms. Hampton's
 statement.

 Having now received this information, we request that you forward to us your entire investigative file with regard to
 any information you have about 2020 elections in Coffee County, including the primary and general election and the
 January 2021 runoff election, as well as any related recounts or audits, to include but not be limited to the following: all
 written or recorded statements, video, documents, papers, letters, photographs, computer-based or generated
 information, data, or any other record related thereto. We also request you forward the same information to the
 Georgia Secretary of State immediately for investigation as they deem necessary.

 Thank you for bringing this matter to our attention.

 Tony Rowell, County Attorney, Coffee County Georgia
 Jennifer Herzog, Assistant County Attorney, Coffee County Georgia

 From: Eric Chaney <ericchaney80@gmail.com>
 Sent: Tuesday, April 12, 2022 2:29 PM
 To: Jennifer Dorminey Herzog <jherzog@hallboothsmith.com>
 Subject:

 Tony and Jennifer,

 I do not know Scott Hall and, to my knowledge, I am not aware of nor was I present at the Coffee County Board of Elections and
 Registration's office when anyone illegally accessedthe server or the room in which It Is contained. Misty told me that she had contacted
 someone from the Secretary of State's office who was going to come down and investigate the November 2020 election. I do recall going
 by the office sometime after the recount in November 2020 and there were people present unknown to me. I believed those people to be
 associated with the Secretary of State's office. I have no knowledge whether or not Misty allowed anyone without authorization to access
 the server room (which remains locked and because of the layout of the Elections' office which is very small, you have to walk through
 Misty's office to accessthat room. Therefore, it is highly unlikely if not impossible for her not to know who did or did not enter the server
 room). I have no personal knowledge that anyone without authorization accessedthe server room nor knowledge of any other
 statements or allegations in Ms. Brown's email.
                                                                      1
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Eric Chaney


On Tue, Apr 12, 2022, 8:58 AM Jennifer Dorminey Herzog <jherzog@hallboothsmith.com> wrote:

 Eric, we received the below correspondence at 5:05am today. Please give Tony Rowell and myself a call as soon as
 possible to discuss.




 Jennifer Dorminey Herzog
 Attorney at Law I Hall Booth Smith, P.C.
 0: 229.382.0515                             1564 King Road
 D: 229.339.8856                             Tifton, GA 31793
                                             hallboothsmith.com

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 -----Original Message-----
 From: Brown, Emma <Emma.Brown@washpost.com>
 Sent: Tuesday, April 12, 2022 5:05 AM
 To: Wesley Vickers <wesley.vickers@coffeecounty-ga.gov>; Anthony A. Rowell <ARowell@hallboothsmith.com>;
 Jennifer Dorminey Herzog <jherzog@hallboothsmith.com> Subject: Time sensitive Washington Post inquiry

 Dear Mr. Vickers, Mr. Rowell and Ms. Herzog,

 As you know from my previous inquiries to each of you, I have been reporting on the claim that businessman Scott
 Hall arranged after the 2020 election to ferry a team of people to Coffee County, where - he says in a recorded
 phone call - that they made copies of Dominion election equipment with permission from local elections officials.

 The county's former election supervisor, Misty Hampton (previously Martin) told me that Scott Hall did visit her office
 with other people after she reached to someone on the "federal level" seeking help investigate the election.

 She said she did not remember how many people or who they were, or when they visited or what they did. She said
 Eric Chaney was present with her and she did nothing without his knowledge.

 Hampton said the group passed through the locked door between the building foyer and the election department,
 which she described as an area off limits to the general public but a place where non-county employees - such as
 candidates, anyone seeking to meet with her, even her mother - could go and did go.

 She also said that while she was sure that Hall and the team he brought did not enter a locked room housing the touch
 screen voting machines, she did not know whether they entered the room housing the EMS server, as that room was
 often unlocked during the day and she wasn't watching their every movement. (I understand that the state election
 board found fault with the county's security protocol, including the unlocked door to the EMS room, and referred it to
 the AG for possible civil penalties in Dec 2021.)

 So while we have not confirmed that Hall and the team he accompanied did actually copy equipment, Hampton's
 description, as I understand it, leaves open the possibility that they could have accessed and copied the EMSserver.




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I am laying this out for you because I would really appreciate the chance to include the county's perspective in the
story, particularly a response to our conclusion that Hall and his team could have had access to the EMS because they
were in the election office area, behind a locked door meant to keep out the general public, and in the vicinity of a
usually unlocked EMS room with no one keeping a close eye on them.

If there is something we should be aware of that makes this conclusion unfair or inaccurate, I would really appreciate
you letting me know. I'm not just asking as an exercise, but because we are preparing a story and I'm trying to present
a clear and accurate picture.

My deadline is this afternoon and I would very much appreciate the chance to hear back from you at your earliest
convenience today. Feel free to call or email and please let me know if anything I've written here needs clarification.

Thank you for your consideration.

Sincerely,
Emma Brown
202-674-5934

Sent from my iPhone




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